Case 18-32247-hcd

 

Fil| in this information to identify your cases

 

/Q/l'@tr'/{’)i"' /"

Lasi Namc

t\/C‘? V

Mid le Namo
\

Debtor 1 ¢€_§1/';#}') {?\

Flrsj~lamc

Debtor 2
(Spouse, ll himg) F:r:\r Nam»:

 

Midd|a N,jm;_» Las\ Namc

l - /.\
t y.l / _1 _
United States Bankruptcy Court for the: A/ C)' z /L(, fl l District of,~L 57 f lf)"\

(Slate)

Case number
(|f known)

 

 

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Official Form 113
Chapter 13 P|an

To Debtors:

This form sets out options that may be appropriate in some cases,
indicate that the option is appropriate in your circumstances or tha

do not comply with local rules and judicial rulings may not be contirmable.

/n the following notice to creditors, you must check each box that applies

To Creditors:

Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

§§ Check if this is an amended
_ plan, and list below the
Sections of the plan that have
been changed.

 

12/17

but the presence of an option on the form does not
t it is permissible in yourjudicial district. Plans that

You should read this plan carefully and discuss it with your attomey it you have one in this bankruptcy case. lt you do not

have an attorney, you may wish to consult one.

lf you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must tile an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruplcy
Court. The Banl<ruptcy Court may confirm this plan without further notice lino objection to confirmation is filed. See
Bankruptcy Rule 3015. ln addition you may need to H|e a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance Debtors must

includes each of the following items. lf an item is checked as “Not Included”

be ineffective if set out later in the plan.

check one box on each line to state whether or not the plan

 

or if both boxes are checked, the provision wil/

 

 

 

 

 

 

1.1 A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial §§ included m Not included`,
payment or no payment at all to the secured creditor

1.2 Avoidance of a judicial lien or nonpossessory, nonpurchase~money security interest, set out in included m Not included
Section 3.4

1.3 Nonstandard provisions, set out in Part 8 m included m Not included

 

 

 

 

 

 

mPlan Payments and Length of P|an

2.1 Debtor(s) will make regular payments to the trustee as followsf

3 (*’ w merpth for§})
lands [ 760/d per 510an for _/__

months

months.] /nsen‘ additional lines if needed

lf fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the

payments to creditors specified in this plan.

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Debior /b"{. §§ 311 ft j"\)i:i, V '{/r;/l Li -//l<€ f Case number _____________________,___....

2.2 Reguiar payments to the trustee will be made from future income in the following manner:
Check all that app/y.
13 Debtor(s) will make payments pursuant to a payroll deduction order.
ja Debtor(s) will make payments directly to the trustee.
n Other (specify method of paymeni): _______
2.3 income tax refunds.
Check one,
Deblor(s) will retain any income tax refunds received during the plan terrri.

m Debtor(s) Will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return and will
turn over to the trustee all income tax refunds received during the plan term.

m Debtor(s) will treat income tax reful ds as follows:

./~§ ii -/“sj_t\-i;ac,€ \»-u"l // AQ ft`?r"u)L/iw( bjc z/LQ )`;/,<'Q“li'i

 

2.4 Aciditionai payments.
Checi< One.
x .
til None. lf “None" is checked the rest of § 2.4 need not be completed or reproduced
/

m Debtor(s) will make additional payment(s) to the trustee from other sources, as specified beiow. Describe the source, estimated amount,
and date of each anticipated payment

 

 

2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is S .

v Treatment of Secured Claims

 

3.1 i\llaintenance of payments and cure of defauit, if any.

Check one.
l:] None. lf “None” is checked the rest of § 3.1 need not be completed or reproduced

The debtor(s) will maintain the current contractual installment payments on the secured claims listed below. with any changes required by
the applicable Contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the trustee or
directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through disbursements by the
trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed on a proof of claim filed before the
filing deadline under Bankruptcy Rule 3002(0) control over any contrary amounts listed below as to the current installment payment and
arrearage. in the absence of a contrary timely filed proof of claim, the amounts stated below are controlling. if relief from the automatic stay
is ordered as to any item of collateral listed iri this paragraph, then, unless otherwise ordered by the court, all payments under this
paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by the plan. The final
column includes only payments disbursed by the trustee rather than by the debtor(s).

 

Name of creditor Coiiateral Current installment Amount of , interest rate ron Monthly plan Estimated total
payment arrearage Gt arrearage payment on payments by
. ~ (including escrow) any) (if applicable) arrearage trustee
\ . r\ t
, . i' ‘ ‘~'t /’ 'l .» "f"_v `“ “`3
»`§A%(/Z`OD'&%§N;(H@V`% s Q§l/ s © § % s >$(Q s 950
_____r____
l §§ (J it_}*'j Disbursed by: .
m Trustee
Debtor(S)
3 $ % 3 3___

 

 

Disbursed by;
m Trustee
m Debtor(s)

insert additional claims as needed

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Deblor /§'C;y l ’\(/\ /CG'/W /74§¢ l"fc l: ’/` Case number _~

3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one

l;l None. /f “None" is checked the rest of § 3.2 need not be completed or reproduced

The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

ja The debtor(s) request that the court determine the value of the secured claims listed below. l-`or each non-governmental secured claim

' listed below, the debtor(s) state that the value of the secured claim should be as set out in the column headed Amount of secured
claim. For secured claims of governmental units, unless otherwise ordered by the court, the value of a secured claim listed in a proof of
claim filed in accordance with the Bankruptcy Ru|es controls over any contrary amount listed below. For each listed claim, the value of
the secured claim will be paid in full with interest at the rate stated below.

The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part`S of this
plan. if the amount of a creditors secured claim is listed below as having no value, the creditors allowed claim will be treated in its entirety
as an unsecured claim under Part 5 ofthis plan. Unless othen/vise ordered by the court, the amount of the creditor's total claim listed on the
proof of claim controls over any contrary amounts listed in this paragraph

The holder of any claim listed below as having value in the column headed Amount of secured claim will retain the lien on the property interest
of the debtor(s) or the estate(s) until the earlier of:

(a) payment of the underlying debt determined under nonbankruptcy law, or`

(b) discharge of the underlying debt under 11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditcr.

Name of creditor f Estimated amount _Collateral Value of Amount- of Amount of lnterest Monthly Estimated total
of'credit_or’s total ' ' ~ ' collateral claims senior to secured claim rate _ payment to of monthly
claim , creditor’s claim » creditor payments

/‘,I , » ( ,-

_ , - ' 2~» . » ,, y ,, n _) rt / ,, \ y
->/»t/ wit older _/ad; mcwiwa died _r'% 3._53_@ tear
$ $ 8 S __% S $ __

 

 

 

lnsent additional claims as needed
3.3 Secured claims excluded from 11 U.S.C. § 506.
Check one.
HNone. lf "None" is checked the rest of § 3.3 need not be completed or reproduced

m The claims listed below were either;

(1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired for the
personal use of the debtor(s). or

(2) incurred Within 1 year of the petition date and secured by a purchase money security interest in any other thing of value,

These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or
directly by the debtor(s), as specified below. Unless othen/vise ordered by the courl, the claim amount stated on a proof of claim filed before the
filing deadline under Bankruptcy Rule 3002(c) controls over any contrary amount listed below. in the absence of a contrary timely H|ed proof of
claim, the amounts stated below are controlling The final column includes only payments disbursed by the trustee rather than by the debtor(s).

 

 

Name of creditor y y Collatera| Amount of claim interest Monthly plan Estimated total
~ ' ' rate payment payments by trustee
$ % 3 S
Disbursed by:
m Trustee

ill Debtor(s)

$ % $ $
Disbursed by:

m Trustee
[:.l Debtor(s)

 

lnsert additional claims as needed

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Case number __________________________

Debtor

3.4 Lien avoidance

Check one.

`l;LNone. /f "None"' is checked, the rest of § 3.4 need not be completed or reproduced
'The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

l:§ The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which the
debtor(s) would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien or security interest
securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The
amounth the judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5 to the extent allowed. The

amount, if any, of the judicial lien or security interest that is not avoided will be paid in full as a secured claim underthe plan. See 11 U.S.C.

§ 522(f) and Banl<ruptcy Rule 4003(d). if more than one lien is to be avoided, p

information regarding judicial
lien or security interest

Calcu|ation of lien avoidance

1

rovide the information separately for each lien.

Treatment' of remaining
secured claim `

N f d_ a. Arnount of lien S____________ Amount of secured claim after
ame ° Cre nor avoidance (line a minus line i)
$_________________._._~
b. Amount of all other liens 5
Collateral c. Value of claimed exemptions + 3 |nterest rate (if applicable)
cl Total of adding lines a, b, and c 55 %
._ . Month| a ment on secured
Lien identification (sLich as @. \/alue Of dethi(S) interest tit _ S claim y p y
judgment date, date of lien PFOD€FW
recording, book and page number) $-_-_~__'“‘_°'_"_
_________________- Estimated total payments on
i. Subtract line e from line d. 5 secured claim

E)<tent ot exemption impairment

(Check applicable box):

m Line f is equal to or greater than line a.

$ _

The entire lien is avoided (Do not complete the next column )

ft Line fis less than line a.

 

A portion of the lien is avoided (Complete the next column.)

 

/nsert additional claims as needed

3.5 Surrender of collateral.
Check one
RNone. lf “None" is checked, the rest of § 3.5 need not be completed or reproduced
'L:i The debtor(s) elect to surrender to each creditor listed below the collateral that secures the Creditor's claim. The debtor(s) request that

upon confirmation of this plan the stay under it U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301
be terminated in all respects Any allowed unsecured claim resulting from the disposition of the collateral will be treated in Part 5 below.

Name of creditor Collateral

 

 

 

 

Insert additional claims as needed

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.j_§ k . b _ ) {f,,-
Debtor N 661/3 l'/[ €\ /<i”\ ij )H/?V /`LL;€ ( Case number _~

"` ../

  

Treatment of Fees and Priority Claims

4.1 General

Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in iu|l without
postpetition interest

4.2 Trustee's fees

.~._, 3
Trustee's fees are governed by statute and may change,clurin the course of the case but are estimated to be /'/ /> % of plan payments; and
during the plan term, they are estimated to total $ 5 gas §2 295

4.3 Attorney’s fees
. . ' `\E'/\- il .{;i 3
The balance of the fees owed to the attorney for the debtor(s) rs estimated to be $ , @ if

4.4 Priority claims other than attorney's fees and those treated in § 4.5.
Check one.

None. /f “None" is checked the rest of § 4.4 need not be completed or reproduced

rm The debtor(s) estimate the total amount of other priority claims to be

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount
Check one.

None. /f "None" is checked the rest of § 4.5 need not be completed or reproduced

|l;l The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a
governmental unit and will be paid less than the full amount of the claim under 11 U.S.C. § i322(a)(4). This plan provision
requires that payments in § 2,1 be for a term of 60 months,' see l 1 U.S.C. § 1322(a)(4). '

Name of creditor v c . c Amount of claim to be paid

lnsen‘ additional claims as needed

mTreatment of Nonpriority Unsecured Claims

5.1 Nonpriority unsecured claims not separately classified.

Al|owed nonpriority unsecured claims that are not separately classihed will be paid, pro rata. if more than one option is checked the option
providing the largest payment will be effective Check all that app/y.

a The sum of$ §§ .
n % of the total amount of these claims, an estimated payment of $
n The funds remaining after disbursements have been made to all other creditors provided for in this plan.

li the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately $
Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at least this amount

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away ii mr nut/br f CMM__~____¢-

t

5.2 tVlaintenance of payments and cure of any default on nonpriority unsecured claims. Checl< One.
§§ None. lf "None" is checked the rest of § 5.2 need riot be completed or reproduced

l:! The debtor(s) will maintain the contractual installment payments and cure any default in payments on the unsecured claims listed below
on which the last payment is due after the final plan payment. These payments will be disbursed either by the trustee or directly by the
debtor(s), as specified below. The claim for the arrearage amount will be paid in full as specihed below and disbursed by the trustee.
The final column includes only payments disbursed by the trustee rather than by the debtor(s).

Name of creditor Current installment Amount of arrearage Estimated total

 

 

payment to be paid payments by
trustee

$ , $ 3

Disbursed by:

0 Trustee

ij Debtor(s)

35 $ $

Disbursed by:
a Trustee
m Debtor(s)

insert additional claims as needed

5.3 Other separately classified nonpriority unsecured'claims. Check one.

`f
BNone. /f "None" is checked the rest of § 5.3 need not be completed or reproduced

\:§ The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows

 

 

Name of creditor Basis for separate classification Amount:to'be paid lnterest rate Estimated total
and treatment on the claim (it applicable) amount of
payments
$ % $
_e______,w_*_, ___________ $ % $

 

lnsert additional claims as needed

Executory Contracts and Unexpired Leases

 

 

6.1 `fhe executory contracts and unexpired leases listed below are assumed and will be treated as specihed. All other executory contracts
and unexpired leases are rejected Checl< one

l.;a\None. /f ”None" is checked the rest of § 6.1 need not be completed or reproduced

l;t Assumed items. Current installment payments will be disbursed either by the trustee or directly by the debtor(s), as specified below, subject
to any contrary court order or rule. Arrearage payments will be disbursed by the trustee. The final column includes only payments disbursed
by the trustee rather than by the debtor(s).

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r":,) _"j

 

 

 

 

 

Name of creditor 1 Description of leased `Current installment Amount of Treatment of arrearage Estimated total
' property or executory payment arrearage to payments by
contract be paid (R€f€r f<_> Other plan trustee
section if applicab|e)

$ 3 5

Disbursed by:

El Trustee

E.l Debtor(s)

$ $ S

Disbursed by:

l:] Trustee

D Debtor(s)

/nsert additional contracts or leases as needed

Vesting of Property of the Estate

7.1 Property of the estate will vest in the debtor(s) upon
Check the applicable box:

g plan confirmation
n entry of discharge
a other:

Nonstandard Plan Provisions

8.1 Check “None" or List Nonstandard Plan Provisions

 

[:] None. /f "None" is checked the rest of Part 8 need not be completed or reproduced

Under Bankruptcy Ru/e 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not othen/vise included in the

Officia/ Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

 

 

 

 

 

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:/rj »~ " /'D
Debior ti\\‘g{)'i' 1 -/AL i".(' /\ Lg'. t/' .'" éjI/_ ,)'/-\/\[/_§______E l’ W_ ____ Case number _________________,_.__
l

l
_,`/

 

Signature(s):

 

9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney

the Debtor(s) must sign below,' cthen/vise the Debtor(s) signatures are optiona/. The attomey for the Debtor(s), if any,

lf the Debtor(s) do not have an attorney,

must sign b y

, / /
./'
~ / v 4 `// />/////¢-C/ é»/‘--»? x
Si@ature of Debtor
,./1 fl ~
E)<ecuted on S g 1 »ZYLZ Executed on
NlM / DD /YYYY

MM / DD /YYYY

§§/<‘Ar@ %WW%@MW\ mae .______________

Signature ofAttorney for Debto s) iviivi / DD /YYYY

  

 

Signature of Debtor 2

if not represented by an attorney, or the Attorney for Debtor(s)
f the provisions in this Chapter 13 plan are identical to
ard provisions included in Part 8.

By filing this document, the Debtor(s),
also certify(ies) that the wording and order o
those contained in Official Form 113, other than any nonstand

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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. lf there is any difference between the amounts set
out below and the actual plan terms, the plan terms control.

a. Maintenance and cure payments on secured claims (Part 3, Sectiori 3. 1 tota/)
b. Modified secured claims (Part 3, Section 3.2 total)

c. Secured claims excluded from 11 U.S.C. § 506 (Pant 3, Section 3.3 tota/)

d. Judicial liens or security interests partially avoided (Part 3. Section 3.4 total)

e_ Fees and priority claims (Part 4 toial)

 

f. Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount]
g. Nlaintenance and cure payments on unsecured claims (Part 5, Section 5.2 total) 3 é`\/"

h. Separately classified unsecured claims (Part 5, Section 5.3 total)

ga
/`(\.

 

i. Trustee payments on executory contracts and unexpired leases (Pan‘ 6, Section 6.7 total) 55 <//
j. Nonstandard payments (Part 8, total) + $ /</j
~ ' - or f
Total of lines a through j . go i®U

 

 

 

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